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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 12-60936-CIV-COHN/SELTZER

  PHILIP PULLEY, DEVRA PULLEY, JEROME
  DAVIS, and SUSAN DAVIS, on behalf of
  themselves and all others similarly situated,

        Plaintiffs,

  v.

  JPMORGAN CHASE BANK, N.A., CHASE
  BANK USA, N.A., CHASE INSURANCE
  AGENCY, JP MORGAN INSURANCE
  AGENCY, ASSURANT, INC., AMERICAN
  SECURITY INSURANCE COMPANY, and
  VOYAGER INDEMNITY INSURANCE
  COMPANY,

        Defendants.
                                                  /

                       FINAL ORDER AND JUDGMENT GRANTING
                      APPROVAL TO CLASS ACTION SETTLEMENT

        On June 26, 2013, this Court granted preliminary approval to the proposed class

  action settlement set forth in the Stipulation and Settlement Agreement (the "Settlement

  Agreement") between Plaintiffs Philip Pulley, Devra Pulley, Jerome Davis, and Susan

  Davis ("Plaintiffs"), on behalf of themselves and the Settlement Class,1 and Defendants

  JPMorgan Chase Bank, N.A., Chase Insurance Agency, Inc., and JP Morgan Insurance

  Agency, Inc. (collectively, "Chase Defendants"). The Court also provisionally certified

  the Settlement Class for settlement purposes, approved the procedure for giving Class

  Notice to the members of the Settlement Class, and set a final approval hearing to take


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           Unless otherwise defined herein, capitalized terms in this Order have the
  definitions found in the Settlement Agreement.
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  place on November 22, 2013. The Court finds that the Class Notice substantially in the

  form approved by the Court in its June 26, 2013, Preliminary Approval Order was given

  in the manner ordered by the Court, constitutes the best practicable notice, and was

  fair, reasonable, and adequate.

         On November 22, 2013, the Court held a duly noticed final approval hearing to

  consider: (1) whether the terms and conditions of the Settlement Agreement are fair,

  reasonable, and adequate, in light of any objections to the Settlement Agreement;

  (2) whether a judgment should be entered dismissing Plaintiffs' Second Amended

  Complaint on the merits and with prejudice in favor of all defendants in the action

  ("Defendants") and against all persons or entities who are Settlement Class Members

  herein who have not requested exclusion from the Settlement Class; and (3) whether

  and in what amount to award Attorneys' Fees and Expenses and whether and in what

  amount to award a Case Contribution Award to the Plaintiffs.

         In accordance with the foregoing, it is

         ORDERED AND ADJUDGED as follows:

         1.     This Court has personal jurisdiction over all parties to this litigation (the

  "Litigation"), including all Settlement Class Members, venue is proper, and the Court

  has subject matter jurisdiction over this Litigation with respect to all claims, to approve

  the Settlement Agreement, and to enter this Final Order and Judgment.

         2.     The Court finds that the Settlement Agreement was negotiated at arm's

  length by experienced counsel who were fully informed of the facts and circumstances

  of this Litigation and of the strengths and weaknesses of their respective positions. The

  Settlement Agreement was reached after the Chase Defendants and Plaintiffs had




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  engaged in extensive mediation and after the exchange and production of discovery,

  including a substantial volume of electronic data. Counsel for the Settling Parties were

  therefore well positioned to evaluate the benefits of the Settlement Agreement, taking

  into account the expense, risk, and uncertainty of protracted litigation with respect to

  numerous difficult questions of fact and law.

         3.     The Court finds that the prerequisites for a class action under Fed. R. Civ.

  P. 23(a) and Fed. R. Civ. P. 23(b) have been satisfied for settlement purposes for each

  Settlement Class Member, in that: (a) the Settlement Class is so numerous that joinder

  of all members is impracticable; (b) there are questions of law or fact common to the

  Settlement Class Members; (c) the claims of the Settlement Class Representatives are

  typical of the claims of the Settlement Class Members; (d) the Settlement Class

  Representatives and Settlement Class Counsel have fairly and adequately protected

  the interests of the Settlement Class; (e) the questions of law and fact common to the

  Settlement Class Members predominate over any questions affecting any individual

  Settlement Class Member; (f) the Settlement Class is ascertainable; and (g) a class

  action is superior to other available methods of resolving this controversy.

         4.     Pursuant to Fed. R. Civ. P. 23, this Court hereby finally certifies the

  Settlement Class, as identified in Settlement Agreement, which shall consist of the

  following:

         All persons in the United States that have or had a residential mortgage
         loan or line of credit serviced by the Chase Defendants and secured by
         property on which wind insurance was lender-placed at any time between
         January 1, 2008 and March 4, 2013. Specifically excluded from the
         Settlement Class are: (a) the Defendants and their respective board
         members, directors, and officers; and (b) borrowers whose wind lender-
         placed insurance policy was cancelled in its entirety so that any premiums
         collected were fully refunded to the borrower.



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         5.     The Court finally appoints Plaintiffs Philip Pulley, Devra Pulley, Jerome

  Davis, and Susan Davis as Settlement Class Representatives.

         6.     The Court finally appoints the law firm of Meredith & Narine as counsel for

  the Settlement Class ("Settlement Class Counsel").

         7.     The Court has carefully considered the Settlement Agreement and has

  evaluated it in light of (a) the likelihood of success at trial; (b) the range of possible

  recovery; (c) the point on or below the range of possible recovery at which a settlement

  is fair, adequate, and reasonable; (d) the complexity, expense, and duration of litigation;

  (e) the substance and amount of opposition to the settlement; and (f) the stage of

  proceedings at which the settlement was achieved. See Bennett v. Behring Corp., 737

  F.2d 982, 986 (11th Cir. 1984). Under Fed. R. Civ. P. 23(e), the Court hereby finally

  approves the Settlement Agreement and finds that the Settlement Agreement is in all

  respects fair, reasonable, and adequate as to, and in the best interests of, each of the

  Settling Parties and the Settlement Class Members. The Settlement Agreement shall

  be binding on the Plaintiffs and all Settlement Class Members and the Defendants and

  implemented according to its terms.

         8.     The Settling Parties are hereby directed to implement and consummate

  the Settlement Agreement according to its terms and provisions.

         9.     The Court hereby approves the distribution of funds to the Settlement

  Class as set forth in the Settlement Agreement. Class Counsel and the claims

  administrator are hereby authorized to distribute the fund created by the Settlement

  Agreement (reduced by the Settlement Administration fees, case contribution awards,

  attorneys' fees, and expenses awarded by the Court), in accordance with the terms of




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  the Settlement Agreement. Class Counsel is authorized to exercise reasonable and

  prudent discretion to develop rules of distribution as necessary to achieve full and final

  distribution of the Settlement Fund, consistent with the Settlement Agreement.

         10.    In addition to the amounts paid or owed to the claims administrator under

  the terms of the Settlement Agreement, the Court authorizes payment to the claims

  administrator for any work it performs under Paragraphs 5.8 and 5.9 of the Settlement

  Agreement, which provide for a second mailing if the total of undeliverable and voided

  (or uncashed) checks exceeds 3% of the net settlement amount. If the claims

  administrator is required to make such a second mailing, it shall be compensated for

  that work out of the fund of undeliverable and voided checks, with the remainder of any

  such fund paid to Habitat for Humanity, under paragraph 5.10 of the Settlement

  Agreement.

         11.    The Court finds that the notice given to the Settlement Class, setting forth

  the principal terms of the Settlement Agreement and related matters, (a) constituted the

  best and most effective notice practicable under the circumstances, including individual

  notice to all members of the Class who could be identified through reasonable efforts;

  (b) gave and was reasonably calculated to give adequate notice of these proceedings

  and of the matters set forth in the notice to all persons entitled to notice, including the

  right of each Settlement Class Member to object or exclude herself from the proposed

  Settlement; (c) was reasonable and constituted due, adequate, and sufficient notice to

  all persons entitled to be provided with notice, and (d) complied fully with the

  requirements of Fed. R. Civ. P. 23, the United States Constitution, the Rules of this

  Court, and any other applicable law.




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         12.    From the Settlement Fund, the Court awards $10,000.00 collectively to

  Plaintiffs Philip Pulley and Debra Pulley and $5,000.00 collectively to Plaintiffs Jerome

  Davis and Susan Davis as case contribution awards for their work in assisting

  Settlement Class Counsel in this Litigation and the Settlement.

         13.    From the Settlement Fund, the Court awards $ 1,425,000.00 in attorneys'

  fees to Settlement Class Counsel.

         14.    From the Settlement Fund, the Court awards $26,678.00 to Settlement

  Class Counsel for out-of-pocket expenses incurred throughout this Litigation on behalf

  of Plaintiffs and the Settlement Class.

         15.    The terms of the Settlement Agreement and of this Final Order and

  Judgment, including all exhibits thereto, shall be forever binding on and shall have res

  judicata and preclusive effect in all pending and future lawsuits maintained by the

  Plaintiffs and all other Settlement Class Members, as well as their heirs, executors and

  administrators, successors, and assigns.

         16.    The Releases, which are set forth in Section 10 of the Settlement

  Agreement, are expressly incorporated herein in all respects and are effective as of the

  date of this Final Order and Judgment, and the Released Persons (as that term is

  defined in the Settlement Agreement and including all Defendants in this Litigation) are

  forever released, relinquished, and discharged by the Releasing Persons (as that term

  is defined in the Settlement Agreement) from all Released Claims (as that term is

  defined in the Settlement Agreement).

                a.     As set forth in the Settlement Agreement, the Releases shall

         include, but not be limited to, any and all claims related to charges for Chase




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        Defendants' placement of wind insurance during the Class Period; the amount,

        duration, and alleged excessiveness of any wind insurance placed by the Chase

        Defendants during the Class Period; payment or receipt of commissions,

        expense reimbursements, alleged "kickbacks," or any other compensation under

        any wind insurance policy placed by the Chase Defendants during the Class

        Period; the disclosure or non-disclosure of any payment, expenses, fees, or

        feature under any wind insurance policy placed by the Chase Defendants during

        the Class Period; the receipt or non-disclosure of any benefit under any wind

        insurance policy placed by the Chase Defendants during the Class Period; the

        content, manner, or accuracy of any communications regarding the placement of

        any wind insurance policy by the Chase Defendants during the Class Period; and

        the regulatory approval or non-approval of any wind insurance policy placed by

        the Chase Defendants during the Class Period.

              b.     As set forth in the Settlement Agreement, the Releases in

        Paragraph 16(a) of this Final Order and Judgment shall not cover claims arising

        after the Final Approval of the Settlement, or claims made under any wind

        insurance policy placed by the Chase Defendants. Nothing in Paragraph 16(a) of

        this Final Order and Judgment shall be deemed a release of any Settlement

        Class Member's respective rights and obligations under the Settlement

        Agreement.

              c.     As set forth in the Settlement Agreement, and without in any way

        limiting their scope, the Releases described herein and in the Settlement

        Agreement cover by example and without limitation any and all claims for




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         attorneys' fees, costs, expert fees, consultant fees, interest, litigation fees, or any

         other fees, costs, and/or disbursements incurred by Class Counsel, or by the

         Named Plaintiffs, except to the extent otherwise specified in this Final Order and

         Judgment and the Settlement Agreement.

         17.    There are no objections to the Settlement Agreement.

         18.    Within thirty days after the Settlement Fund is fully distributed to

  Settlement Class Members who have not opted out in a timely fashion, Plaintiffs shall

  file a report with the Court providing details of the distribution.

         19.    All Plaintiffs and Settlement Class Members who have not opted out in a

  timely fashion are permanently barred and enjoined from filing, instituting, participating

  in, or prosecuting, either directly, representatively, derivatively, or in any other capacity,

  any other action against the Defendants or the Released Persons asserting any of the

  Released Claims.

         20.    Promptly after the Effective Date, all pending claims that have been

  brought by any Settlement Class Member in any other action and that have been

  released pursuant to this Final Order and Judgment and the Settlement Agreement

  shall be dismissed with prejudice.

         21.    Neither the Settlement Agreement nor the settlement contained therein,

  nor this Final Order and Judgment, nor any act performed or document executed

  pursuant to or in furtherance of the Settlement Agreement, the settlement itself, this

  Final Order and Judgment, or this Action generally, is or may be deemed to be or may

  be used as an admission of, or evidence of, (a) the validity of any Released Claim,

  (b) any wrongdoing or liability of the Defendants, (c) the deficiency of any defense that




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  has been or could have been asserted by Defendants in this Litigation or in any

  litigation, or (d) any fault or omission of any of the Defendants, in any civil, criminal,

  administrative, or other proceeding in any court, administrative agency, or other tribunal.

           22.   Defendants may file the Settlement Agreement and/or this Final Order and

  Judgment in any action, regarding any Released Claims, that may be brought against

  them in order to support a claim, defense, or counterclaim based on principles of res

  judicata, collateral estoppel, release, good-faith settlement, judgment bar, or reduction,

  or any theory of claim preclusion or issue preclusion or similar defense, counterclaim, or

  claim.

           23.   If the Settlement Agreement does not become effective in accordance with

  its terms, this Order shall be rendered null and void to the extent provided by and in

  accordance with the Settlement Agreement and shall be vacated and, in such event, all

  orders entered and releases delivered in connection therewith shall be null and void, to

  the extent provided by and in accordance with the Settlement Agreement.

           24.   Without affecting the finality of this Final Order and Judgment in any way,

  this Court hereby retains continuing jurisdiction over: (a) the implementation of this

  settlement and any award or distribution of the Settlement Fund, including interest

  earned thereon; (b) the disposition of the Settlement Fund; and (c) all parties to the

  Litigation for the purpose of construing, enforcing, and administering the Settlement

  Agreement and this Final Order and Judgment.

           25.   The case is hereby DISMISSED on the merits with prejudice as to all

  Defendants, without costs to any party as against any other party, except as otherwise

  provided in the Settlement Agreement. All pending motions are DENIED as moot.




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        26.    The Court directs the Clerk of Court to CLOSE this case and to enter

  judgment accordingly.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County,

  Florida, this 25th day of November, 2013.




  Copies provided to:
  Counsel of record via CM/ECF




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